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                                                                              EXHIBIT G
                 U.S. MERIT SYSTEMS PROTECTION BOARD
                                                        Office of the Clerk of the Board
                                                                                     1615 M Street, N.W.
                                                                            Washington, D.C. 20419-0002
                                            Phone: 202-653-7200; Fax: 202-653-7130; E-Mail: mspb@mspb.gov

March 7, 2022
Notice to:

Carrie Nicole Thomas
145 North Vail Drive
Madison Heights, VA 24572

                Re: Carrie Nicole Thomas v. Department of the Navy
                    MSPB Docket Number: DC-0752-21-0311-I-2


       We received your petition for review on February 25, 2022. The agency may file
a response, or file a cross petition for review, on or before April 1, 2022. A cross petition
for review differs from a response because it also disagrees with the initial decision. If a
cross petition for review is filed, any response must be filed within 25 days after the date
of service of the cross petition. Any response or cross petition for review is limited to 30
pages or 7500 words, whichever is less.
       The appellant may file a reply to the response to the petition for review within 10
days after the date of service of the response. A reply may not be more than 15 pages or
3750 words, whichever is less, and is limited to the factual and legal issues raised in the
response to the petition for review. A request to submit any pleading in excess of the
limits described above must be submitted in accordance with 5 C.F.R. § 1201.114(h) and
will be granted only in exceptional circumstances.
       The Washington Regional Office issued an initial decision in your case (see
Docket Number above) on January 20, 2022. Your petition is untimely filed because it
was not postmarked or received in this office on or before February 24, 2022, the 35th day
following the issuance of the initial decision. Under the law (5 U.S.C. § 7701(e)(1)(A))
and regulation (5 C.F.R. § 1201.114(e)) that govern petitions for review, a petition must
be filed within 35 days after the date on which the initial decision was issued, or within
30 days after the receipt of the decision, whichever is later. The Board’s regulation (5
C.F.R. § 1201.114(g)) also requires that a petition for review that appears to be untimely
be accompanied by a motion to (1) accept the filing as timely, and/or (2) to waive the
time limit for good cause.
      If you want to file the motion described above, you must include either (1) a
statement, signed under penalty of perjury, or (2) an affidavit (a sworn statement taken
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before a notary public or similarly authorized official), showing either that your petition
was timely filed, even though filed more than 35 days after the initial decision was
issued, or that there is good cause for the late filing. If you claim you did not receive the
initial decision within 5 days of its issuance, you must provide evidence that supports
your claim. (The facts asserted in your affidavit or statement under penalty of perjury are
considered as evidence.) If you submit evidence that you did not receive the initial
decision within 5 days of its issuance, this alone does not make your petition timely, you
must also establish good cause for the additional delay in filing your petition.
       To assist you, we are enclosing a "Motion to Accept Filing as Timely or to Waive
Time Limit" form. Your motion and properly signed statement must be postmarked if
mailed or sent by facsimile on or before March 22, 2022. Your motion and signed
statement must be sent to the other parties and their designated representatives and must
include a certificate showing how and when you sent copies to the other parties. 5 C.F.R.
§ 1201.114(j).
      Unless you provide a motion with an affidavit or signed statement, as explained
above, the Board may issue an order dismissing your petition for review as untimely,
which would result in the initial decision becoming the Board’s final decision.
       The filing date of any submission described above is the date the document is
postmarked, if mailed; the date the document is received by the Board, if personally
delivered; the date the facsimile of the document was sent; or the date of electronic
submission, if filed via e-Appeal. All submissions must be served on each party and
representative and must include a certificate of service. The parties are informed that the
Clerk of the Board may reject any submissions that do not substantially conform to the
procedural requirements of 5 C.F.R. Part 1201, subpart C. You may review the Board’s
petition for review procedures at 5 C.F.R. § 1201.114.
       The record closes when the time period ends for filing a reply to a response to the
petition for review or a response to a cross petition for review. The Board will not accept
any pleading other than the ones described above unless the party files a motion and
obtains leave from the Clerk of the Board to file an additional pleading. Any such
motion must describe the nature of and need for the pleading. 5 C.F.R. § 1201.114(a)(5).
Additionally, after the record closes, the Board may accept an additional submission
other than the pleadings described above only if the party was granted leave to file such
pleading and the submission includes a statement that convinces the Board that the
submission was not readily available before the record closed. 5 C.F.R. § 1201.114(k).
All parties are reminded that they must notify the Board and each other in writing of any
changes in representation and/or address.
       The Board encourages settlement. If the parties settle and they enter a written
settlement agreement into the record, the Board will enforce the terms. The Board has no
enforcement authority over settlement agreements that are not entered into its record.
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                                          Jennifer Everling
                                          Acting Clerk of the Board



                                         _______________________________
                                         Markita Bryant
                                         Paralegal Specialist


Attachment: Settlement Program Information
                       Show Cause for Late Filing Form
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                       United States Merit Systems Protection Board
                 PETITION FOR REVIEW SETTLEMENT PROGRAM


                                         Introduction
       In keeping with its policy of encouraging the settlement of appeals, the Board has a
program that helps parties resolve their disputes at the petition-for-review level. The program
is conducted by settlement attorneys in the Board's Office of General Counsel who are familiar
with federal employment law. Settlement will not be attempted in every case because of the
Board's limited resources. When a case is selected, a settlement attorney will contact both
parties either in writing or by telephone.
                                        Case Selection
       Cases are selected for the settlement program in several ways. Most are screened by
settlement attorneys, as they are received in the Office of the Clerk of the Board. Others are
selected by a vote of at least 2 Board members who conclude that settlement efforts would be
worthwhile in a particular case. Other cases are selected by decision-writing attorneys in the
Office of Appeals Counsel based on their judgment, concurred in by a settlement attorney, that
settlement efforts would be appropriate. Still others may be selected based on a party's request.
        If you would like the Board's help in settling your appeal at the petition-for-review
level, you may call its headquarters offices in Washington, D.C., at 1-800-209-8960, and leave
a message. A settlement attorney will contact you to discuss settlement possibilities.
                                    Settlement Discussions
       If an appeal is selected for the settlement program, the parties and their representatives
must be prepared to discuss settlement options in good faith. Representatives must have the
authority to enter into a settlement agreement.
       When a Board appeal is settled, both parties can gain something that they may lose if
the Board decides the appeal by the application of legal principles where, most often, one party
wins and the other loses. Depending on the circumstances of a particular case, the advantages
of such a settlement to an appellant might include: a clean record with the reason for separation
recorded as a voluntary resignation; a more acceptable date of separation; a modified penalty; a
cash buy-out; receipt of some, if not all, back pay; the agency's agreement not to challenge an
application for unemployment benefits; the agency's agreement not to divulge detrimental
information to potential future employers; or the payment of some, if not all, attorney fees.
The advantages to the agency might include: the immediate resolution of an employment
problem, possibly extending to other employment disputes involving the same employee;
saving the time of agency representatives, management officials, and agency witnesses; not
having financial resources tied up in litigation before the Board and the courts; and minimizing
or avoiding potential back-pay liability.
       Please keep in mind that these advantages to the appellant and the agency are
possibilities only; some or all may not apply to a particular case, but there may be other
advantages depending on the nature of the case.
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                                        Confidentiality
       The Board's settlement attorneys will treat all discussions with parties as strictly
confidential. If settlement is attempted in an appeal but an agreement is not reached, the
petition for review will be adjudicated on its merits by the Board in the regular manner. The
settlement attorneys will not divulge any information learned during settlement discussions to
Board members or to those who advise the Board on appeals cases or prepare recommended
decisions. Because of this strict confidentiality policy, settlement attorneys may speak with the
parties to an appeal individually about the merits of the case without violating the prohibition
in the Board's regulations against ex parte communications. See 5 C.F.R. § 1201.101.
       During these discussions, the settlement attorney is free to provide his or her own views
of the appeal. While such views are worthy of serious consideration as those of an attorney
familiar with Board law, they do not necessarily represent the views of the Board. Again, the
purpose of any discussion initiated by a settlement attorney with a party to an appeal before the
Board on petition for review is to encourage and help parties to settle their differences.
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                          CERTIFICATE OF SERVICE

      I certify that the attached Document(s) was (were) sent as indicated this
day to each of the following:

                         Appellant

Electronic Mail          Carrie Nicole Thomas
                         145 North Vail Drive
                         Madison Heights, VA 24572

                         Agency Representative

Electronic Mail          Javier L. Martinez
                         Department of the Navy
                         Naval Sea Systems Command, 00L
                         1333 Isaac Hull Avenue, S.E.
                         Washington Navy Yard, DC 20376

Electronic Mail          Steven Lippman
                         Department of the Navy
                         Office of Counsel
                         1333 Isaac Hull Avenue, S.E., Room 4W-3770
                         Washington Navy Yard, DC 20376




         March 7, 2022
            (Date)                                Markita Bryant
                                                  Paralegal Specialist
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    MOTION TO ACCEPT FILING AS TIMELY AND/OR TO ASK THE BOARD
               TO WAIVE OR SET ASIDE THE TIME LIMIT

CASE NAME: Carrie Nicole Thomas v. Department of the Navy
DOCKET NUMBER: DC-0752-21-0311-I-2

Please choose and complete the following, as appropriate (use attachments as
necessary):

1. I ask that the Board allow me to submit my proof that my petition was filed on time for
the reason shown below. The following includes an exact and detailed description of
when I received the initial decision.




2. I ask that the Board set aside (i.e., waive) the deadline for filing my petition for the
good cause (i.e., reason) shown below 1. The following is an exact and detailed
description of the circumstances which caused my petition to be filed late.




3. I have included documents and/or other evidence that supports this request, namely:

        a.

        b.



1
  If you are alleging that your health has affected your ability to meet filing deadlines, the Board will find
good cause for waiver of its filing time limits if you demonstrate that you suffered from an illness that
affected your ability to file on time. To establish that an untimely filing was the result of an illness, you
must: (1)Identify the time period during which you suffered from the illness; (2) Submit medical or other
evidence showing that you suffered from the alleged illness during that time period; and, (3) Explain how
the illness prevented you from timely filing your appeal or your petition for review.
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       c.

4. The reason(s) that I did not ask the Board for an extension of time to file the document
before the deadline is :




PLEASE USE ONE OF THE FOLLOWING TWO SIGNATURE OPTIONS:

                          OPTION 1. SIGNED STATEMENT

I, Carrie Nicole Thomas Appellant, swear under the penalty of perjury under the laws of
the United States of America that the statements above are true and correct.




              Signature                                                   Date


                               OPTION 2. AFFIDAVIT

I, Carrie Nicole Thomas Appellant, swear (or affirm) that the statements above are true
and correct.




                                                                                  Signature

City/County of________________________________________________

State/Commonwealth of ________________________________________

Acknowledged and Sworn to me before this _______ day of __________________200__




                                                      Signature of Notary
_________________________________
           Expiration Date
